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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                          Plaintiffs,   Case No. 1:20-cv-03010-APM

v.                                      HON. AMIT P. MEHTA

GOOGLE LLC,

                          Defendant.


STATE OF COLORADO, et al.

                          Plaintiffs,   Case No. 1:20-cv-03715-APM

v.                                      HON. AMIT P. MEHTA

GOOGLE LLC,

                          Defendant.


                   PLAINTIFFS’ PROPOSED CONCLUSIONS OF LAW




February 9, 2024
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       Using “sweeping language,” Congress designed Section 2 of the Sherman Act to “curb

the excesses of monopolists,” LePage’s, Inc. v. 3M, 324 F.3d 141, 146, 169 (3d Cir. 2003) (en

banc), and preserve “economic liberty” and “free and unfettered competition as the rule of

trade,” N. Pac. Ry. Co. v. United States, 356 U.S. 1, 4 (1958). To vindicate these principles,

Plaintiffs bring this monopoly-maintenance suit and set forth proposed conclusions of law below.

I.     Google Has Illegally Maintained Monopolies In The Relevant Markets For Many
       Years

       Section 2 makes it unlawful to “monopolize . . . any part of the trade or commerce among

the several States.” 15 U.S.C. § 2. This offense requires “(1) the possession of monopoly power

in the relevant market and (2) the willful acquisition or maintenance of that power as

distinguished from growth or development as a consequence of a superior product, business

acumen, or historic accident.” United States v. Grinnell Corp., 384 U.S. 563, 570–71 (1966).

Under this test, Plaintiffs’ bear a preponderance burden, which the fact finder should assess on

an element-by-element basis. LePage’s, 324 F.3d at 166–67.

       Plaintiffs have established that Google illegally maintained monopolies under Section 2.

The first element requires defining a relevant market, and proof of the defendant’s monopoly

power in that market. See infra Sections II–III. The second element requires that the defendant

engaged in “anticompetitive” or “exclusionary” conduct. United States v. Microsoft Corp., 253

F.3d 34, 58–59 (D.C. Cir. 2001) (en banc); infra Sections IV–V. Because “the means of illicit

exclusion, like the means of legitimate competition, are myriad,” courts apply a flexible, burden-

shifting approach to determine whether defendant’s conduct is anticompetitive. See id. 58–59;

infra Sections IV–V.

       Courts reviewing Section 2 claims rely on a range of evidence, including documentary

evidence from the industry, factual testimony, and expert testimony. Evidence from non-party,



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industry participants and ordinary course-of-business documents is especially probative. See,

e.g., FTC v. Sysco Corp., 113 F. Supp. 3d 1, 64–65, 69–70 (D.D.C. 2015) (predicting harm based

on “[t]he parties’ ordinary course documents” and testimony from a “number of industry

actors”). Such evidence carries significant weight because courts “assume that economic actors

usually have accurate perceptions of economic realities.” Rothery Storage & Van Co. v. Atlas

Van Lines, Inc., 792 F.2d 210, 218 n.4 (D.C. Cir. 1986).

       Conversely, courts often give “little weight to subjective evidence and statements

provided by [a defendant’s] employees during the course of [antitrust] litigation” because “the

bias affiliated with such ex post facto testimony is widely recognized and unavoidable.” FTC v.

Meta Platforms Inc., 654 F. Supp. 3d 892, 932 (N.D. Cal. 2023); accord FTC v. OSF Healthcare

Sys., 852 F. Supp. 2d 1069, 1087–88 (N.D. Ill. 2012) (Defendant’s executives’ testimony

“add[ed] little to the analysis” because the executives “would be expected to publicly disavow

any improper conduct and not condone such conduct in the future.”). Accordingly, the Court

should favor contemporaneous documents over inconsistent testimony from Google’s

employees.

       Finally, although intent is not an element of monopolization, Microsoft, 253 F.3d at 59,

“[t]he Supreme Court has made clear that intent is relevant to proving monopolization,”

LePage’s, 324 F.3d at 163. Evidence of intent can be highly probative “because knowledge of

intent may help the court to interpret facts and to predict consequences.” Graphic Prods.

Distribs., Inc. v. Itek Corp., 717 F.2d 1560, 1573 (11th Cir. 1983) (quoting Chi. Bd. of Trade v.

United States, 246 U.S. 231, 238 (1918)); accord Summ. J. Opinion, ECF No. 624, at 22. Thus,

all facts should be interpreted through the lens of Google’s years-long effort to hide and destroy

documents related to potential antitrust claims.




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II.    General Search Services, Search Advertising, And General Search Text Advertising
       In The United States Are Relevant Markets

       A relevant market comprises a product market and a geographic market. FTC v.

Surescripts, LLC, 665 F. Supp. 3d 14, 35 (D.D.C. 2023) [hereinafter Surescripts II]. General

search services, search advertising, and general search text advertising in the United States are

proper relevant markets. Plaintiffs’ Post-trial Brief § I [hereinafter PTB]; Plaintiffs’ Proposed

Findings of Fact §§ IV.A–C [hereinafter PFOF].

       “[D]efining a relevant market is not an end unto itself; rather, it is an analytical tool used

to ascertain the ‘locus of competition.’” United States v. Bertelsmann SE & Co. KGAA, 646 F.

Supp. 3d 1, 24 (D.D.C. 2022). To define a relevant market, courts apply “a pragmatic, factual

approach to the definition of the relevant market and not a formalistic, legalistic one.” Brown

Shoe Co. v. United States, 370 U.S. 294, 336 (1962).

       A.      General Search Services, Search Advertising, And General Search Text
               Advertising Are Relevant Product Markets

       Plaintiffs have properly defined three relevant product markets—general search services,

search advertising, and general search text advertising. Each market is supported by Brown Shoe

“practical indicia,” and a hypothetical monopolist in each market would find it profitable to raise

price significantly above competitive levels or reduce quality significantly below competitive

levels. PTB §§ I.A–E; PFOF §§ IV.A.1–3, IV.B.1–5, IV.C.1–6.

               1.      Several Principles Govern The Exercise Of Defining A Relevant
                       Product Market

       A relevant product market “must include all products ‘reasonably interchangeable by

consumers for the same purposes.’” Microsoft, 253 F.3d at 552 (citation omitted). “In other

words, courts look at ‘whether two products can be used for the same purpose, and, if so,

whether and to what extent purchasers are willing to substitute one for the other.’” United States



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v. H & R Block, Inc., 833 F. Supp. 2d 36, 51 (D.D.C. 2011) (quoting FTC v. Staples, Inc., 970 F.

Supp. 1066, 1074 (D.D.C. 1997)). Evidence of some substitution between two products does not

require both products to be in a relevant product market. See H & R Block, 833 F. Supp. at 54

(“[W]hile providers of all tax preparation methods may compete at some level, this ‘does not

necessarily require that [they] be included in the relevant product market for antitrust purposes.’”

(citation omitted)). The question is not whether there is any substitution but whether the products

themselves are reasonably interchangeable. Id.; see also Sysco, 113 F. Supp. 3d at 26 (“[T]he

mere fact that a firm may be termed a competitor in the overall marketplace does not necessarily

require that it be included in the relevant product market for antitrust purposes.”); FTC v. IQVIA

Holdings Inc., 2024 WL 81232, at *17 (S.D.N.Y. Jan. 8, 2024) (Competition for advertising

dollars in a broader market of differing channels “does not necessarily mean those channels are

reasonably interchangeable substitutes that must be included in the relevant product market.”).

       Under Brown Shoe, the contours of a market can be determined by examining such

factors as “industry or public recognition . . . , the product’s peculiar characteristics and uses,

unique production facilities, distinct customers, distinct prices, sensitivity to price changes, and

specialized vendors.” 370 U.S. at 325. A relevant market “can exist even if only some of these

factors are present.” Staples, 970 F. Supp. at 1075; accord IQVIA, 2024 WL 81232, at *13, *23–

24. A product, moreover, can compete in multiple and concentric relevant markets. Sysco, 113 F.

Supp. 3d at 48–49 (defining concentric markets); Bertlesmann, 646 F. Supp. 3d at 27–28

(“[E]ven if alternative submarkets exist . . . , or if there are broader markets that might be

analyzed, the viability of such additional markets does not render the one identified by the

government unusable.” (citations omitted)).

       The hypothetical monopolist test, another market-definition tool, asks whether a




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hypothetical monopolist of a product or group of products would find it profitable to raise price

significantly above competitive levels or reduce quality significantly below competitive levels.

U.S. Dep’t of Just. & Fed. Trade Comm’n, Merger Guidelines §§ 4.3.A–C (2023). A

hypothetical monopolist test is not required to define a relevant product market. See Meta

Platforms, 654 F. Supp. 3d at 912, 919 (“There is ‘no requirement to use any specific

methodology in defining the relevant market.’ . . . As such, courts have determined relevant

antitrust markets using, for example, only the Brown Shoe factors, or a combination of the Brown

Shoe factors and the [hypothetical monopolist test].” (citations omitted)). When a hypothetical

monopolist test is applied, an economic expert may apply the test without constructing a formal

econometric model. See McWane, Inc. v. FTC, 783 F.3d 814, 829–30 (11th Cir. 2015) (crediting

testimony of an economic expert who had applied the hypothetical monopolist test using

qualitative evidence rather than econometric analysis); Tr. 8386:25–8387:20 (Israel (Def.

Expert)) (It is “more normal than not that [an expert] doesn’t do a full quantitative hypothetical

monopolist test.”). Courts “routinely rely on qualitative economic evidence to define relevant

markets.” McWane, 783 F.3d at 829 (citation omitted). Courts evaluate an expert’s testimony

against the record as a whole to determine whether that testimony is “consistent with business

realities.” Sysco, 113 F. Supp. 3d at 36–37; see also IQVIA, 2024 WL 81232, at *30–31

(considering expert testimony in the context of the record as a whole).

       Finally, product markets can be defined around products “where companies offer a

product . . . for free but profit in other ways, such as by collecting consumer data or generating

ad revenue.” Epic Games, Inc. v. Apple, Inc., 67 F.4th 946, 978 (9th Cir. 2023); accord FTC v.

Facebook, Inc., 581 F. Supp. 3d 34, 45–46, 55 (D.D.C. 2022) (Services “provided free of

charge” could qualify as a relevant product market.). In these cases, a monopolist may reduce




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product quality or innovation below what would be expected in a competitive market. See

Merger Guidelines § 4.3.B (Hypothetical monopolist test may entail worsening terms along any

dimension of competition, including price, quality, product features, and innovative effort.).

               2.      Market-Definition Analysis Must Beware Of The Cellophane Fallacy

       In Section 2 cases such as this one, where a firm has been operating as a monopolist for

many years, courts must beware of the Cellophane fallacy—the existence of substitution

between products resulting from monopoly power rather than reasonable substitutability. Phillip

E. Areeda et al., Antitrust Analysis: Problems, Text, and Cases ¶ 350(b) (8th ed. 2021) (“[T]he

existence of significant substitution in the event of further price increases or even at the current

price does not tell us whether the defendant already exercises significant market power.”),

quoted favorably in Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451, 471 (1992).

“At a high enough price, even poor substitutes look good to the consumer.” United States v.

Eastman Kodak Co., 63 F.3d 95, 105 (2d Cir. 1995) (citation omitted). That does not mean these

poor substitutes belong in the relevant market, however. The test is whether the products are

reasonable substitutes at competitive prices, not monopolized prices. Richard A. Posner,

Antitrust Law 150 (2d ed. 2001).

       Thus, a simple application of the hypothetical monopolist test or the practical indicia

(e.g., sensitivity to price increases or other worsening of terms or quality) in a Section 2 case

may yield misleading results because the monopolist’s conduct has warped substitution patterns.

For example, when the cross-elasticity between two products is high, this may suggest that the

two products belong in the same product market. See Merger Guidelines § 4.3. But cross-

elasticity may also be high if customers facing a monopoly price choose poor substitutes instead

of paying supracompetitive prices. See Posner, Antitrust Law 150. Under these circumstances,

high cross-elasticity may be evidence of monopoly power rather than evidence that two products


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belong in the same market. See Kodak, 504 U.S. at 470–71.

       B.      The United States Is A Relevant Geographic Market

       The United States is an appropriate geographic market for each of Plaintiffs’ relevant

product markets. PTB § I.F; PFOF ¶¶ 396–397, 455, 500 (§§ IV.A.5, IV.B.7, IV.C.7). The

relevant geographic market is the area “to which consumers can practically turn for alternative

sources of the product and in which the antitrust defendants face competition.” FTC v. Cardinal

Health, Inc., 12 F. Supp. 2d 34, 49 (D.D.C. 1998) (citation omitted). Here, general search

services provided to users differ materially as between the United States and other countries,

which means a user cannot reasonably substitute a general search service from outside the United

States for one in the United States. PTB § I.F; PFOF ¶¶ 396–397 (§ IV.A.5). Similarly, for

advertisers looking to reach consumers, ads served on search queries made by users located in

other countries are insufficient substitutes for ads on search queries by users located in the

United States. PTB § I.F; PFOF ¶¶ 455, 500 (§§ IV.B.7, IV.C.7).

III.   Google Has Monopoly Power In Each Of The Three Relevant Markets

       Monopoly power is “the power to control prices or exclude competition.” United States v.

E.I. du Pont de Nemours, 351 U.S. 377, 391 (1956) (citations omitted). Courts assess monopoly

power using indirect evidence, direct evidence, or both. Microsoft, 253 F.3d at 57. Here, both

types of evidence show that Google has monopoly power in each relevant market. PTB § II;

PFOF § V.

       A.      Indirect Evidence Proves That Google Has Monopoly Power In Each
               Relevant Market

       Because “direct proof of monopoly power is only rarely available,” courts typically rely

on indirect proof, ordinarily “a firm’s possession of a dominant share of a relevant market that is

protected by entry barriers.” Microsoft, 253 F.3d at 51. For many years, Google’s market share in



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each relevant market has exceeded the levels courts find sufficient to establish monopoly power,

and high barriers to entry and expansion have protected that dominant position. PTB §§ II.A–B;

PFOF §§ V.A.1–2, V.B.1–2, V.C.1, V.C.3.

               1.      For Many Years, Google Has Had A Dominant Market Share In Each
                       Relevant Market

       In 2020, Google’s U.S. general search services market share was almost 90% (exceeding

75% since 2009), its U.S. general search text ads market share was 88% (exceeding 80% since

2016), and its U.S. search ads market share was 74% (exceeding 64% since 2012). PTB

§§ II.A.1, II.B; PFOF ¶¶ 522, 526, 575, 602–603. Market shares consistently above 65%, when

combined with high barriers to entry, establish monopoly power. Facebook, 581 F. Supp. at 47–

48 (shares above 80% “comfortably exceed[ed] the levels that courts ordinarily find sufficient to

establish monopoly power”—60–65% (citations omitted)); United States v. Dentsply Int’l, Inc.,

399 F.3d 181, 184–88 (3d Cir. 2005) (A market share of 75–80% “is more than adequate to

establish a prima facie case of power.”). Monopoly power is further supported when a firm holds

its dominant share for a long period. See id. at 188–89.

               2.      Each Relevant Market Has High Barriers To Entry And Expansion

       There are significant barriers to entry and expansion in each of the three relevant markets,

including (1) scale effects, (2) large capital costs to operate a general search engine and provide

search advertising, (3) Google’s strong brand recognition and reputation in the general search

services market, (4) Google’s control of search access points through its anticompetitive

distribution agreements and through its ownership of Chrome. PTB §§ II.A.2, II.B; PFOF

§§ V.A.2, V.B.2, V.C.3.

       “Any market condition that makes entry more costly or time-consuming and thus reduces

the effectiveness of potential competition as a constraint on the pricing behavior of the dominant



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firm should be considered a barrier to entry, regardless of who is responsible for the existence of

that condition.” Surescripts II, 665 F. Supp. 3d at 44 (emphasis added) (quoting S. Pac.

Commc’ns Co. v. Am. Tel. &Tel. Co., 740 F.2d 980, 1001 (D.C. Cir. 1984)).

       Courts recognize high capital costs, economies of scale, network effects, entrenched

consumer brand preferences, and the use of exclusive contracts to lock out competitors as

barriers to entry and expansion. E.g., Microsoft, 253 F.3d at 54–56 (An indirect network effect

was a barrier.); Surescripts II, 665 F. Supp. 3d at 45 (Indirect network effects were a barrier.);

Sysco, 113 F. Supp. 3d at 80 (Capital costs and incumbency advantages were barriers.); H & R

Block, 833 F. Supp. 2d at 75 (The “importance of reputation and brand in driving consumer

behavior” were barriers.); Image Tech. Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1208

(9th Cir. 1997) (“Common entry barriers include: patents or other legal licenses, control of

essential or superior resources, entrenched buyer preferences, high capital entry costs and

economies of scale.”); United States v. Syufy Enters., 903 F.2d 659, 667 (9th Cir. 1990) (A

“network of exclusive contracts or distribution arrangements designed to lock out potential

competitors” can be a barrier.). A history of failed entry is also indicative of entry barriers.

Cardinal Health, 12 F. Supp. 2d at 56. PFOF ¶¶ 373, 584.

       B.       Direct Evidence Proves That Google Has Monopoly Power In Each Relevant
                Market

       Although direct evidence of monopoly power is not required, Microsoft, 253 F.3d at 57,

in this case, direct evidence bolsters the indirect evidence and independently establishes that

Google has monopoly power in each of the relevant markets. PTB § II.C; PFOF §§ V.A.4,

V.B.4, V.C.5.

       Direct evidence shows a firm’s “power to control prices or exclude competition.”

Microsoft, 253 F.3d at 51. It is evidence of “something a firm without a monopoly would have



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been unable to do” or behavior “difficult to explain unless [the defendant has] a monopoly

product.” Id. at 57–58. Here, direct evidence of Google’s monopoly power includes users’ low

responsiveness to reductions in the quality of Google Search, advertisers’ low responsiveness to

price increases for Google’s text ads, and Google’s ability to extract significant profits from

advertisers and search distribution partners, without considering rivals’ prices. PTB § II.C; PFOF

§§ V.A.4, V.B.4, V.C.5.

       Although supracompetitive pricing and restricted output are direct evidence of monopoly

power, neither one is required. Microsoft, 253 F.3d at 56–58. “[T]he material consideration in

determining whether a monopoly exists is not that prices are raised and that competition actually

is excluded but that power exists to raise prices or to exclude competition when it is desired to do

so.” Am. Tobacco Co. v. United States, 328 U.S. 781, 811 (1946). “Courts have held that the

existence of so-called ‘calling cards’ of a competitive market, such as falling prices and

increased output, do not by themselves negate the existence of monopoly power as a matter of

law.” Surescripts II, 665 F. Supp. 3d. at 47. If the presence of technological innovation and

declining prices negated monopoly power, “a great many defendants with market power, such as

Alcoa in the 1920s and perhaps even the former AT&T telephone monopoly, could be insulated

from antitrust attack.” Allen-Maryland, Inc. v. Int’l Bus. Mach. Corp., 33 F.3d 194, 210–11 (3d

Cir. 1994).

       This is especially true in fast-moving technology markets where, despite the presence of

monopoly power, innovation may lead to output growth and falling costs. For example, in

Microsoft, the Court held that Microsoft had monopoly power in the Intel-compatible PC market,

253 F.3d at 54–58, although PC shipments were increasing in the period leading up to the district

court’s decision, PFOF ¶ 530. See also Allen-Maryland, 33 F.3d at 210–11 (“Although the




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performance of computers has been rapidly increasing as costs for performance have plummeted,

it proves too much to say that this improvement is inconsistent with market power.”).

       Similarly, R&D investment cannot disprove monopoly power. Even monopolists “have

reason to invest in R&D” because “innovation can increase an already dominant market share

and further delay the emergence of competition.” Microsoft, 253 F.3d at 57.

IV.    The Evidence Establishes A Prima Facie Case Of Anticompetitive Conduct

       If the defendant has monopoly power in a relevant market, as Google does, the Court

must consider whether the evidence establishes a prima facie case of anticompetitive conduct.

Microsoft, 253 F.3d at 58. In this action, the evidence establishes a prima facie case of

anticompetitive conduct because Google has harmed the competitive process. Even applying

Google’s overly narrow and legally inapplicable exclusive-dealing standard, the evidence here

nonetheless establishes a prima facie case. Lastly, at summary judgment, this Court deferred

ruling on three disputes related to Plaintiffs’ prima facie case. Even now, the Court need not

resolve these disputes, but doing so bolsters Plaintiffs’ prima facie case.

       A.      The Evidence Establishes A Prima Facie Case Under Section 2

       Because “the means of illicit exclusion, like the means of legitimate competition, are

myriad,” a flexible standard governs Section 2 challenges. Microsoft, 253 F.3d at 58. Under this

standard, the evidence establishes a prima facie case if the challenged conduct has an

“anticompetitive effect,” meaning that it “harm[s] the competitive process.” Id. The evidence

need only show that the conduct “reasonably appear[s] capable of making a significant

contribution to . . . maintaining monopoly power.” Id. at 79 (citation omitted). Plaintiffs have

established that Google’s conduct satisfies this standard. PTB §§ III–V; PFOF §§ VI–VIII.

       Two principles are key to assessing harm to the competitive process. First, Section 2

prevents monopolists from engaging in exclusionary conduct directed at current and potential


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competitors. Microsoft, 253 F.3d at 54. Accordingly, Section 2 prohibits Google from

suppressing competition not only from general search engines but also from firms outside the

market—such as Apple and Branch—posing nascent threats. Id. (explaining that the district

court’s opinion had committed “no contradiction” in “defin[ing] the relevant market to exclude

the ‘very competitive threats that gave rise’ to the action”). To hold otherwise would reward the

prescient monopolist that trimmed the roses before they grew thorns. As Microsoft explained, “it

would be inimical to the purpose of the Sherman Act to allow monopolists free reign to squash

nascent, albeit unproven, competitors at will—particularly in industries marked by rapid

technological advance and frequent paradigm shifts.” Id. at 79; accord LePage’s, 324 F.3d at 159

(Section 2 protects against anticompetitive conduct “designed to prevent one or more new or

potential competitors from gaining a foothold in the market.”).

       Second, in establishing harm to the competitive process, the plaintiff need not prove

downstream harm, such as increased prices, lost innovation, and reduced quality. Microsoft, 253

F.3d at 58 (noting that downstream harm is presumed from harm to competition). Indeed, “if

monopoly power has been acquired or maintained through improper means, the fact that the

power has not been used to extract a monopoly price provides no succor to the monopolist.”

Berkey Photo, Inc. v. Eastman Kodak Co., 603 F.2d 263, 274 (2d Cir. 1979), quoted favorably in

Microsoft, 253 F.3d at 57; accord FTC v. Ind. Fed’n of Dentists, 476 U.S. 447, 461–62 (1986)

(upholding a finding of “actual, sustained adverse effects on competition” “even absent proof

that [the challenged agreement] resulted in higher prices”); Sullivan v. NFL, 34 F.3d 1091, 1101

(1st Cir. 1994) (holding that an action could injure competition “regardless of [its] exact price

effects”). For example, Microsoft found prima facie cases against exclusionary conduct by

“simply determin[ing] whether the exclusive agreement foreclosed a substantial share of the




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market.” See Summ. J. Opinion, ECF No. 624, at 37. No proof of higher prices or lower quality

was necessary.

       The evidence presented to the Court demonstrates that the challenged agreements harm

the competitive process. These agreements do so by (1) foreclosing rivals and potential rivals

from the most important distribution channels, (2) depriving rivals’ of scale, which undermines

their product quality and raises barriers to entry and competition; (3) incentivizing Apple not to

become a general-search rival through enormous payments under the ISA; (4) including terms in

the ISA that prohibit Apple from materially expanding its Suggestions product in Safari;

(5) including terms in the ISA requiring Apple to get Google’s approval before showing search

ads in Spotlight; and (6) thwarting the adoption of a nascent search tool developed by Branch to

navigate and discover app content. PTB § III; PFOF §§ VI–VIII. Harm to consumers and

advertisers, which the evidence also showed, corroborates and independently demonstrates harm

to the competitive process. PTB §§ IV–V; PFOF §§ VIII. Thus, under Section 2 of the Sherman

Act and cases such as Microsoft, the evidence establishes a prima facie case of harm to

competition.

       B.        An Exclusive-Dealing Standard Is Too Narrow For This Action

       Courts undertake a flexible, case-specific inquiry to determine whether a monopolist has

pursued anticompetitive conduct and thus violated Section 2. See Kodak, 504 U.S. at 466–67

(rejecting “[l]egal presumptions that rest on formalistic distinctions rather than actual market

realities” in favor of “resolv[ing] antitrust claims on a case-by-case basis, focusing on the

‘particular facts disclosed by the record’”); Microsoft, 253 F.3d at 58.

       Some courts have developed standards for analyzing common forms of anticompetitive

conduct, such as tying and exclusive dealing. For example, courts have found that agreements

that are exclusive and foreclose a substantial share of a relevant market may violate Section 2.


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Microsoft, 253 F.3d at 69. In these cases, courts assess competitive harm by measuring the extent

to which the exclusive contracts foreclose competition. See ZF Meritor, LLC v. Eaton Corp., 696

F.3d 254, 270–71 (3d Cir 2012) (explaining that the exclusive-dealing standard focuses on harm

caused by depriving rivals of effective distribution).

       Google’s conduct, however, exceeds mere foreclosure. As discussed above, Google’s

agreements harm the competitive process not just by substantially foreclosing competition in the

relevant markets but also by (1) depriving rivals’ of scale, which undermines their product

quality and raises barriers to entry and competition; (2) incentivizing Apple not to become a

general-search rival through enormous payments under the ISA; (3) including terms in the ISA

that prohibit Apple from materially expanding its Suggestions product in Safari; (4) including

terms in the ISA that require Apple to get Google’s approval before showing search ads in

Spotlight; and (5) thwarting the adoption of a nascent search tool developed by Branch to

navigate and discover app content. PTB §§ III.A–B; PFOF §§ VI.B.5, VIII.A, VIII.B.3. A

foreclosure analysis is simply the wrong tool to properly weigh or assess these additional harms.

For example, Google paying Apple to stunt Suggestions and Spotlight harms competition

because a potential rival has agreed to a limit on competition, not because the conduct foreclosed

the rival from competing. See Otter Tail Power Co. v. United States, 410 U.S. 366, 377 (1973)

(Anticompetitive conduct includes “agreements not to compete, with the aim of preserving or

extending a monopoly.”). To apply a rigid exclusive dealing standard here, therefore, risks

obscuring “actual market realities.” Kodak, 504 U.S. at 466.

       Under similar circumstances, courts have opted for the general Section 2 standard, even

when harm resulted from agreements blocking access to distribution. Most notably, in Microsoft,

the D.C. Circuit assessed restrictions in licenses between Microsoft and OEMs that limited




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OEMs’ ability to distribute or promote browsers other than Internet Explorer. 253 F.3d at 61–62.

The district court had found that only one of the many OEM agreements “could be termed . . .

‘exclusive’” under the law. United States v. Microsoft Corp., 87 F. Supp. 2d 30, 52–53 (D.D.C.

2000), aff’d in part, rev’d in part and remanded, 253 F.3d 34 (D.C. Cir. 2001). The D.C. Circuit,

by contrast, did not apply an exclusive-dealing standard—it did not ask whether the agreements

were exclusive or created substantial foreclosure. Instead, the D.C. Circuit found these OEM

agreements anticompetitive under the general Section 2 standard because the agreements limited

access to “one of the two primary channels for distribution of browsers” and “prevent[ed] OEMs

from taking actions that could increase rivals’ share of usage.” Microsoft, 253 F.3d at 61–62. For

the D.C. Circuit, what controlled was the effect these agreements had on the competitive process

and, ultimately, in reinforcing Microsoft’s monopoly.

       Similarly, in Chase Manufacturing, Inc. v. Johns Manville Corp., the Tenth Circuit

declined to apply “an exclusive-dealing framework” to a manufacturer’s conduct, recognizing

that “[r]eal-world monopolists may engage in allegedly exclusionary conduct which does not fit

within a single paradigm.” 84 F.4th 1157, 1170–74 (10th Cir. 2023) (“‘[A]nticompetitive

conduct comes in too many forms and shapes to permit a comprehensive taxonomy.’” (citations

omitted)); see also Lorain Journal Co. v. United States, 342 U.S. 143, 143–44, 149–50, 152–53

(1951) (applying general Section 2 principles to condemn a newspaper’s refusal to accept local

advertising from customers that advertised on a competing radio station); Am. Pres. Lines, LLC

v. Matson, Inc., 633 F. Supp. 3d 209, 229 (D.D.C. 2022) (holding that a plaintiff can challenge a

discounting policy under an exclusive-dealing standard even if the plaintiff could not satisfy the

predatory-pricing standard); FTC v. Surescripts, LLC, 424 F. Supp. 3d 92, 101–02 (D.D.C. 2020)




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(same) [hereinafter Surescripts I].1

       In sum, the narrow foreclosure-based standard for exclusive dealing is not sufficient to

scrutinize all harm arising from Google’s anticompetitive behavior. Exclusive dealing is only

one form of exclusionary conduct, and the exclusive-dealing standard is designed to assess only

one theory of harm. Thus, consistent with Microsoft, Google’s agreements are best analyzed

under the general Section 2 standard.

       C.      The Evidence Nonetheless Establishes A Prima Facie Case Under The Overly
               Narrow Exclusive-Dealing Standard

       Even if the Court adopts an exclusive-dealing standard—which it should not, see supra

Section IV.B—Plaintiffs have established a prima facie case under Section 2. Google’s

agreements are exclusive and create substantial foreclosure in each relevant market.2

               1.      Google’s Contracts Are Exclusive

       “Generally, a prerequisite to any exclusive dealing claim is an agreement to deal

exclusively.” ZF Meritor, 696 F.3d at 270. Literal exclusivity, however, “is not necessary,

because [courts] look past the terms of the contract to ascertain the relationship between the



1
  The application of an exclusive-dealing standard in New York v. Meta Platforms, Inc. is
inapposite here not only because of differences in the challenged conduct but also because the
Meta plaintiffs themselves had requested an exclusive-dealing standard. Compare 549 F. Supp.
3d 6, 32 (D.D.C. 2021) (applying an the “exclusive-dealing doctrine” because the plaintiffs had
argued it “appl[ied] to this case”), with Viamedia, Inc. v. Comcast Corp., 951 F.3d 429, 453 n.11
(7th Cir. 2020) (declining to apply the exclusive-dealing standard because the plaintiff “elected
not to pursue exclusive dealing as a distinct theory of liability”).
2
  In the D.C. Circuit, exclusivity and substantial foreclosure are the only elements of a prima
facie case of exclusive dealing. Summ. J. Opinion, ECF No. 624, at 37 (“[A]t the prima facie
stage, the Circuit [in Microsoft] simply determined whether the exclusive agreement foreclosed a
substantial share of the market.”). The analyses used in some other circuits include additional
factors, namely, the duration of the exclusive contracts, coercion, the contracts’ ease of
termination, and rivals’ use of exclusive dealing. E.g., ZF Meritor, 696 F.3d at 271–72. Although
this Court must focus on how the elements adopted by the D.C. Circuit support Plaintiffs’ claims,
the additional factors from other circuits bolster the same conclusion. E.g., PFOF ¶¶ 38, 216,
220–221, 238–244, 250, 255, 274, 281, 286, 300, 308, 740–778, 779–781, 822–862, 1307, 1321.

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parties and the effect of the agreement ‘in the real world.’” Id. (citations omitted). Under this

flexible standard, Google’s agreements are exclusive because they require partners to distribute

Google as the exclusive default and thus ensure rivals cannot obtain default distribution with

Google’s partners. PTB § III.C.1; PFOF §§ VI.A–C. Any other outcome would invite the

creative, well-lawyered monopolist to craft anticompetitive agreements taking advantage of

unnecessary formalism.

       Most directly, the district court and the D.C. Circuit in Microsoft determined that

agreements establishing Microsoft’s products as the “default” were exclusive; a showing of

complete or absolute exclusivity was not required. Microsoft, 253 F.3d at 75 (“The District Court

found that, although not literally exclusive, the [JVM] deals were exclusive in practice because

they required developers to make Microsoft’s JVM the default in the software they developed.”);

id. at 76 (agreeing with the district court that a “default clause . . . made the [JVM] Agreements

exclusive as a practical matter”); id. at 71 (holding that IAP agreements establishing Internet

Explorer “as the default browser” constituted unlawful exclusive dealing).3 Rather, courts

properly elevate substance over form by examining an agreement’s effect based on the market

realities of the companies and industries at issue. Similarly, in ZF Meritor, the Third Circuit

upheld an exclusive-dealing judgment even though the challenged agreements allowed partners

to distribute rivals’ products upon consumer request and even though rivals “remained free to




3
  As discussed above, the D.C. Circuit found a different set of agreements, the OEM agreements,
unlawful without deciding whether the agreements qualified as exclusive. See Microsoft, 253
F.3d at 59–69. However, if this Court were to disagree and construe Microsoft as holding that the
OEM agreements were exclusive deals, that construction would further show the ease of
qualifying as exclusive under Section 2. Id. at 60–62 (finding support for three independent
prima facie cases against provisions in the OEM agreements that prohibited “(1) removing any
desktop icons, folders, or ‘Start’ menu entries; (2) altering the initial boot sequence; and
(3) otherwise altering the appearance of the Windows desktop”).

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market directly” to consumers. 696 F.3d at 287–88.

        These cases demonstrate the flexibility of Section 2’s exclusivity standard. An agreement

qualifies as exclusive not only if it is literally exclusive but also if it is “de facto” or “partially”

exclusive. ZF Meritor, 696 F.3d at 282–84; see also McWane, 783 F.3d at 833–35 (rejecting the

defendant’s attempt to use “‘formalistic distinctions’ [to argue] that the specific form of its

exclusivity mandate insulated it from antitrust scrutiny”).

        First, “the law is clear that an express exclusivity requirement is not necessary because de

facto exclusive dealing may be unlawful.” ZF Meritor, 696 F.3d at 282; accord Surescripts I,

424 F. Supp. 3d at 101–02 (holding that the complaint stated a claim for “de facto exclusive

dealing” (quoting ZF Meritor, 696 F.3d at 281)). A contract is de facto exclusive when the

contract’s practical effect is to prevent the use of a rival product or service. ZF Meritor, 696 F.3d

at 282–83; e.g., LePage’s, 324 F.3d at 157–59 (Exclusivity existed under Section 2 where a

challenged agreement contained an optional 1% discount conditioned on exclusivity.); Am. Pres.

Lines, 633 F. Supp. 3d at 227–28 (same for an optional 20% discount conditioned on

exclusivity); Surescripts I, 424 F. Supp. 3d at 101 (same for an optional discount conditioned on

exclusivity even though “some” partners had forgone the discount to work with rivals); see also

Dentsply, 399 F.3d at 193 (explaining how an “at-will” arrangement that was “technically only a

series of independent sales” constituted unlawful exclusive dealing).

        Second, “an exclusive dealing claim does not require . . . a contract that covers 100% of

the buyer’s needs.” ZF Meritor, 696 F.3d at 282 n.14; accord Am. Pres. Lines, 633 F. Supp. 3d

at 228 (“[The defendant] does not cite—and the Court has not independently identified—any

federal precedent requiring 100% exclusivity.”). Instead, an agreement qualifies as exclusive

under Section 2 even when its provisions are only “partially” exclusive—meaning they require




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the partner to use the defendant for a portion of its needs while allowing the partner to use

competitors for the rest. ZF Meritor, 696 F.3d at 283 (rejecting a “100%” or “complete”

exclusivity requirement). For example, in both ZF Meritor and American President Lines, the

challenged agreements qualified as exclusive even though the agreements permitted partners to

purchase up to 10% of their needs from the defendants’ rivals. ZF Meritor, 696 F.3d at 283–84;

Am. Pres. Lines, 633 F. Supp. 3d at 227–28.

       Under Section 2’s flexible standard, the challenged agreements are exclusive, PTB

§ III.C.1; PFOF §§ VI.A–C, particularly when viewed in light of the network and scale effects

present in the relevant markets, PTB § III.A; PFOF § III.E. The agreements require partners to

distribute Google as the exclusive default on their devices’ or browsers’ search access points;

rivals, by contrast, cannot obtain defaults with Google’s partners because the agreements prohibit

that distribution. PTB § III.C.1; PFOF § III.F (see, e.g., ¶¶ 223, 245, 259–261, 311–315, 317).4

               2.      Google’s Contracts Substantially Foreclose Competition

       Under an exclusive-dealing standard, a Section 2 plaintiff must show “substantial”

foreclosure to establish a prima facie case. Microsoft, 253 F.3d at 68–70. Google’s contracts

substantially foreclose competition in each relevant market.

       Foreclosure is calculated by measuring the percentage of the market covered (or tied up)




4
  Even if Google’s agreements were not considered exclusive, that would only bolster the need to
analyze Google’s agreements under the general Section 2 standard. The exclusive-dealing
standard is simply not capable of evaluating challenged conduct of all kinds. Viamedia, 951 F.3d
at 452–53 (When assessing whether “conduct fits into [specialized] categories under Section 2,”
remain “mindful that we should stay focused on the effect [the challenged] conduct has on
competition.”); Microsoft, 253 F.3d at 59–64 (finding OEM distribution contracts unlawful
without ever assessing exclusivity); see also Phillip E. Areeda et al., Antitrust Law ¶ 651b (4th
ed. 2015) (Specialized tests under Section 2 are “‘incomplete,’ in the sense that they do not
account for every type of exclusionary conduct that the law of monopolization should
condemn.”).

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by the challenged agreements. Surescripts I, 424 F. Supp. 3d at 102 (“Exclusivity provisions

covering about 40–50% of the relevant market have been found to foreclose competition

illegally, and Surescript’s loyalty program allegedly places 70–80% of [two] markets into

effectively exclusive contracts.” (emphasis added) (citations omitted)); ZF Meritor, 696 F.3d

at 286 (using coverage to find 85% foreclosure); Le v. Zuffa, LLC, 2023 WL 5085064, at *17–18,

*29 (D. Nev. Aug. 9, 2023) (endorsing an expert’s disputed opinion that coverage was the proper

measure of foreclosure); Areeda, Antitrust Law ¶ 768b4 n.39 (“Foreclosure is measured by

looking at the percentage of the market that is ‘tied up’ by the exclusive-dealing contract, and

thus by considering how much of the market is available to rival sellers.”).

        The D.C. Circuit has “declined to adopt a rigid test of what degree of foreclosure is

required for a successful Section 2 challenge.” See Summ. J. Opinion, ECF No. 624, at 41–42

(citing Microsoft, 253 F.3d at 70). Accordingly, although exclusive dealing may give rise to

antitrust liability under either Section 1 or Section 2, exclusive contracts can violate Section 2

“even though the contracts foreclose less than the roughly 40% or 50% share usually required in

order to establish a § 1 violation.” Id.

        Google’s agreements cover and thus foreclose 50% of U.S. general search queries, 45%

of U.S. general search text ad revenues, and 36% of U.S. search ad revenues. PTB § III.C.3;

PFOF ¶¶ 954, 965–966. Each of these foreclosure amounts is substantial on its own and even

more so when considered in light of market realities, such as the importance of scale. Microsoft,

253 F.3d at 73–74 (holding that the Apple agreements created substantial foreclosure despite the

agreements’ accounting for only 15% of one distribution channel); Simon & Simon, PC v. Align

Tech., Inc., 533 F. Supp. 3d 904, 917 (N.D. Cal. 2021) (The Ninth Circuit has held “that a

contract restricting as little as 24% of the relevant market resulted in a cognizable foreclosure




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under section 1, which typically requires a higher level of foreclosure than section 2.” (citing

Twin City Sportservice, Inc. v. Charles O. Finley & Co., Inc., 676 F.2d 1291, 1298, 1304 (9th

Cir. 1982))).

       Economic analysis bolsters the substantiality of these foreclosure numbers. Google’s

contracts ensure a substantial share of each market would remain with Google even if a rival’s

service became much more attractive than Google’s. PTB § III.C.3; PFOF ¶¶ 955–961, 967. In

particular, as long as Google’s agreements are in place, at least 33% of U.S. general search

service queries, 30% of U.S. general search text ad revenues, and 24% of U.S. search ad

revenues will remain with Google, regardless of any conceivable changes in quality.5 PTB

§ III.C.3; PFOF ¶¶ 955–961, 967. Thus, by any reasonable measure, Google’s contracts render a

substantial portion of the relevant markets unavailable to competitors.

       D.       Although Not Necessary, Resolving Disputes Pending After Summary
                Judgment Bolsters Plaintiffs’ Prima Facie Case

       At summary judgment, this Court deferred ruling on three matters relating to foreclosure:

(1) “whether a but-for approach is the appropriate way to measure foreclosure”; (2) “what

channels of distribution are included in the foreclosure analysis”; and (3) “whether either the

Browser Agreements or Android Agreements, or both, are part of the foreclosure calculus.”

Summ. J. Opinion, ECF No. 624, at 43. The Court need not resolve these disputes—even if the

exclusive-dealing standard governs this action—because Plaintiffs have made their prima facie

case either way. Nonetheless, resolving these disputes bolsters Plaintiffs’ prima facie case.




5
 Although Google’s expert Prof. Murphy recognized that some users will not change their
search default under any imaginable situation, he declined to estimate how many searches those
users account for. PFOF ¶ 964.

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               1.      Measuring Foreclosure Requires No Assessment Of The But-For
                       World

       The first open issue from summary judgment is whether to measure foreclosure relative

to a but-for world (i.e., the world as it would be had the defendant not engaged in any of the

challenged conduct). Doing so is improper, but in any case, Google’s foreclosure is substantial

even when assessed relative to the but-for world.

                       a)      Microsoft Bars A But-For Requirement

       First, Microsoft anticipated and rejected Google’s foreclosure argument. As the D.C.

Circuit explained, Section 2 liability does not obligate a plaintiff “to reconstruct the hypothetical

marketplace absent a defendant’s anticompetitive conduct.” 253 F.3d at 79. Holding otherwise

would subvert Section 2 because “neither plaintiffs nor the court can confidently reconstruct a

product’s hypothetical technological development in a world absent the defendant’s exclusionary

conduct.” Id. Even Google’s expert conceded he has not identified how the world would have

developed but-for Google’s contracts. Tr. 10005:12–10006:16 (Murphy (Def. Expert)). Adopting

Google’s argument would reward the monopolists that muddy the question of what would have

happened—how rivals would have grown or developed—absent their misconduct. Such an

incentive is fundamentally inconsistent with the Sherman Act’s objectives, “particularly in

industries marked by rapid technological advance and frequent paradigm shifts.” Microsoft, 253

F.3d at 79.

                       b)      The Meaning And Purpose Of Foreclosure Contravene A But-
                               For Analysis

       Second, a but-for analysis is improper because foreclosure focuses on limits to rivals’

opportunities in the current world, not on speculative calculations of would have arisen in the

but-for world. Microsoft, 253 F.3d at 69 (holding that foreclosure concerns exclusive contracts’

limitations on “the opportunities for other traders to enter into or remain in that market”


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(emphasis added) (quoting Tampa Elec. Co. v. Nashville Coal Co., 365 U.S. 320, 328 (1961));

LePage’s, 324 F.3d at 158–59 (endorsing Microsoft’s focus on the foreclosure of “the available

opportunities” for distribution (quoting Microsoft, 253 F.3d at 70–71 (emphasis added)));

Perington Wholesale, Inc. v. Burger King Corp., 631 F.2d 1369, 1374 (10th Cir. 1979)

(explaining that an exclusive agreement creates foreclosure by “restrict[ing] the opportunities of

the seller’s competitors to market their product” (emphasis added)).

       Accordingly, courts routinely calculate foreclosure without regard to a but-for world.

E.g., Microsoft, 253 F.3d at 67–76 (finding, without any but-for analysis, that the IAP, ISV,

Apple, and JVM agreements each created substantial foreclosure); Surescripts I, 424 F. Supp. 3d

at 102 (using coverage to measure foreclosure); cf. FTC v. Mot. Picture Advert. Serv. Co., 344

U.S. 392, 393, 395 (1953) (using coverage to find 75% foreclosure for an exclusive-dealing

claim brought under Section 5 of the FTC Act). Even in the rare instances where a court could

plausibly estimate market-share shifts relative to the but-for world, coverage is nonetheless used

to measure foreclosure. E.g., ZF Meritor, 696 F.3d at 286 (using coverage to calculate 85%

foreclosure even though market shares had shifted only 4–10% after the exclusive dealing

began); accord Roxul USA, Inc. v. Armstrong World Indus., Inc., 2019 WL 1101385, at *3 (D.

Del. Mar. 8, 2019) (“[O]ur Court of Appeals have affirmed foreclosure findings even when the

foreclosure calculations include sales the defendant would have made despite the alleged

anticompetitive conduct.” (citing ZF Meritor, 696 F.3d at 278; Dentsply, 399 F.3d at 194)).

                      c)      Even But-For Analysis Shows Substantial Foreclosure

       Third, measuring foreclosure relative to a but-for world would change the analysis only if

the Court did so in a manner that Google’s expert has expressly disclaimed.

       Google’s expert Prof. Kevin Murphy argued that the Court should calculate foreclosure

by comparing rivals’ “ability to compete” in the current world to their “ability to compete” in the


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but-for world. Tr. 10003:16–10004:10 (Murphy (Def. Expert)). Importantly, he explained that

this analysis does not involve predicting “the outcome in terms of shares” in the but-for world.

Id. In other words, Prof. Murphy testified that foreclosure should be calculated by measuring the

additional opportunities that rivals would have to compete in the but-for world, not by predicting

who would “win[] or lose[]” those additional opportunities. Id.

        Prof. Murphy’s focus on the portion of the market where rivals lack the “ability to

compete” is equivalent to Plaintiffs’ focus on the portion of the market that is “tied up.” Prof.

Murphy simply argues for subtracting the share of the market that would be “tied up” in the but-

for world from the share of the market that is “tied up” today.

        This is a meaningless distinction. The share of the market “tied up” today is Plaintiffs’

measure of foreclosure. The share of the market that would be “tied up” in the but-for world is

zero. This is because, in a world without Google’s anticompetitive agreements, rivals could

compete for all queries that are currently covered by those agreements. Thus, after removing the

unnecessary subtraction of zero, Prof. Murphy’s definition of foreclosure becomes the same as

Plaintiffs’.

        Only assessing “the outcome in terms of shares” in the but-for world—the method

properly rejected by Prof. Murphy—would produce different foreclosure percentages.

Calculating foreclosure relative to a but-for world in the manner that Prof. Murphy has proposed

would yield the same foreclosure percentages as Plaintiffs’ method. See supra Section IV.C.2.6




6
 Despite the similarity between Plaintiffs’ approach and Prof. Murphy’s, Prof. Murphy
concluded that “foreclosure is zero in this case” because, unlike Plaintiffs, he believes that
Google’s agreements do not tie up even a single query from competition in the current world.
Tr. 10006:18–25 (Murphy (Def. Expert)).

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               2.      User-Downloaded Chrome Queries Exacerbate The Foreclosure
                       Created By Google’s Contracts

       The second open issue from summary judgment is “what channels of distribution” to

include in the foreclosure analysis, Summ. J. Opinion, ECF No. 624, at 43, which boils down to

whether to consider certain Chrome queries alongside those covered by the Apple, third-party

browser, and Android agreements. The Chrome queries are appropriate to consider, but the

foreclosure created by Google’s agreements is substantial even if those queries are ignored.

       When market circumstances—beyond the challenged contracts—limit rivals’

opportunities to compete, those circumstances must factor into this Court’s consideration of

foreclosure. Stop & Shop Supermarket Co. v. Blue Cross & Blue Shield of R.I., 373 F.3d 57, 66

(1st Cir. 2004) (noting the need to “tak[e] account of other existing foreclosures” when assessing

the challenged agreements’ foreclosure). For example, “if 30 percent of the market was covered

by exclusive-dealing arrangements and an additional 60 percent was covered by manufacturer

ownership of stores, then the total of tied-up [i.e., foreclosed] stores would have to be reckoned

at 90 percent, with only 10 percent available to rival manufacturers.” Areeda, Antitrust Law

¶ 1802b n.9.

       On Windows and Apple devices (primarily Macs), many users download Google’s

Chrome browser (like Firefox), which defaults to Google Search (like Firefox). PFOF ¶¶ 968–

969. Unlike Firefox queries, however, queries on these user-downloaded versions of Chrome are

not foreclosed by the challenged conduct and are thus not included in the foreclosure numbers

identified above. See supra Section IV.C.2. Nonetheless, these user-downloaded Chrome queries

are still unavailable to rivals. PFOF ¶ 969. Thus, user-downloaded Chrome queries—which

amount to 20% of the overall general search services market, PFOF ¶ 968—magnify the

contracts’ foreclosure in each relevant market. PTB § III.C.3; PFOF ¶ 970. Whether the Court



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includes these Chrome queries in the foreclosure number itself or adjusts the amount of

foreclosure needed to establish anticompetitive conduct, these Chrome queries must be

accounted for in the foreclosure analysis.

       Nonetheless, Google’s contracts create substantial foreclosure even without considering

user-downloaded Chrome queries. See supra Section IV.C.2. Thus, the Chrome queries bolster

the need for—but are not necessary for—a finding of substantial foreclosure.

               3.      The Foreclosure From Google’s Browser And Android Contracts
                       Should Be Aggregated

       The third open issue from summary judgment is “whether either the Browser Agreements

or Android Agreements, or both, are part of the foreclosure calculus.” Summ. J. Opinion, ECF

No. 624, at 43. When applying Section 2, assessing cumulative effects is appropriate even when

conduct other than exclusive deals are challenged. Similarly, foreclosure analysis requires

aggregation. Thus, the Court should aggregate the browser agreements (i.e., those with Apple

and third-party browsers) with the Android agreements or, put differently, view the two types of

agreements in “light” of each other. See Microsoft, 253 F.3d at 72. To do otherwise, invites the

monopolist to do in pieces what it cannot do at once. Nonetheless, even when assessed

separately, Google’s contracts create substantial foreclosure.

       Microsoft’s analysis of the ISV contracts demonstrates why the foreclosure of different

kinds of agreements must be aggregated. Microsoft found that “although the ISV market

foreclosure on its own was not significant, the exclusive arrangements with the ISVs were

anticompetitive when aggregated with the foreclosure occurring through the two main channels

of browser distribution,” the IAP and OEM channels. Summ. J. Opinion, ECF No. 624, at 27

(emphasis added); Microsoft, 253 F.3d at 72 (finding the various ISV agreements collectively

created substantial foreclosure despite their “relatively small” size because those agreements



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occurred in “light” of IAP and OEM agreements).

       The IAP agreements were themselves numerous and heterogenous—entered with 10 ISPs

and several additional OLSs. Microsoft, 253 F.3d at 67, 70–71. Similarly, the OEM agreements

were “many” in number, id. at 59–69, and with one exception, found not exclusive by the district

court, Microsoft, 87 F. Supp. 2d at 52–53. Nonetheless, to assess foreclosure, the court

aggregated these dozens of exclusive and non-exclusive agreements—entered with ISVs, ISPs,

OLSs, and OEMs. Microsoft, 253 F.3d at 72.

       Subsequent precedent in this Circuit has employed similar analysis, aggregating

foreclosure even when the underlying conduct is much more varied than the contracts challenged

here. E.g., Am. Pres. Lines, 633 F. Supp. 3d at 228 n.8 (aggregating foreclosure from a loyalty

program, exclusive dealing, bundled pricing, and a tying scheme “without attempting to attribute

specific percentages to each alleged activity”). Any contrary approach would (1) immunize a

monopolist whose product or service is distributed through unconcentrated or differentiated

partners and (2) incentivize the monopolist to influence the market’s growth to block

aggregation.

       Thus, assessing foreclosure here requires aggregating the foreclosure from the browser

and Android contracts (and viewing that foreclosure in context of the importance of scale).

Nonetheless, even without aggregation, the browser and Android agreements create substantial

foreclosure, whether viewed in “light” of each other or even in complete isolation. PFOF ¶¶ 728,

804, 864 (showing that the browser (including the ISA) and Android agreements cover, and

therefore foreclose, 30.3% and 19.4%, respectively, of the general search services market).

V.     Google Failed To Present Valid Procompetitive Justifications, Let Alone Sufficient
       Nonpretextual Justifications To Outweigh The Anticompetitive Effects

       When the evidence in a Section 2 case establishes a prima facie case of anticompetitive



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conduct, the burden shifts to the defendant to “show[]” a sufficient “procompetitive justification”

for this conduct. Microsoft, 253 F.3d at 59, 64–65, 67. Google argues that its conduct was

justified for a variety of reasons.7 Each of these arguments fails based on well-established

principles for assessing procompetitive justifications. PTB § VI; PFOF § X.

       Even if a defendant demonstrates that its procompetitive justifications are valid, the

defendant can prevail only if the cognizable benefits outweigh the harm arising from the

conduct. Because each of Google’s procompetitive justifications fail at the outset, the Court need

not reach the balancing stage. But if the Court reaches balancing, the anticompetitive harms from

Google’s contracts outweigh any cognizable procompetitive benefits. PTB § VII; PFOF § VIII.

       A.      Google’s Justifications Are Invalid

       In assessing purported procompetitive justifications, Courts reject out-of-market claims,

factually unsupported claims, claims that are not procompetitive, pretextual claims, and claims

where less competitively restrictive alternatives exist to the defendant’s exclusionary conduct.

Each of Google’s proffered justifications fails one or more of these tests. PTB § VI; PFOF § X.

               1.      Google’s Justifications Rely On Out-Of-Market Effects

       Because purported benefits in one market cannot excuse harm elsewhere, Google must

prove concrete benefits to competition in the relevant markets. PTB § VI.A.

       Section 2’s focus on protecting competition in any relevant market derives directly from

its text, which prohibits monopolization of “any part of the trade or commerce among the several

States, or with foreign nations.” 15 U.S.C. § 2 (emphasis added). Once the Court identifies that a




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  Google asserts (1) that “competition for the contract” between search rivals justifies any harm
to consumers in the relevant markets, (2) that Google’s agreements benefit consumers through
lower smartphone prices and more innovative browsers, and (3) that Google’s RSAs and
MADAs lead to a more robust Android ecosystem. PTB § VI.

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product or service “makes up a relevant market[,] . . . domination or control of it makes out a

monopoly of a ‘part’ of trade or commerce within the meaning of s 2 of the Sherman Act.”

Grinnell, 384 U.S. at 572. This statutory text alone requires a focus on whether competition is

harmed in any of the relevant markets at issue.

       The Supreme Court confirms this plain meaning with its reading of the Clayton Act,

which has analogous statutory text prohibiting mergers that may harm competition “in any line

of commerce.” Id. at 573. In interpreting Section 7 of the Clayton Act, the Supreme Court has

held that anticompetitive effects in one market cannot be “justified by procompetitive

consequences in another.” United States v. Phila. Nat’l Bank, 374 U.S. 321, 370 (1963). The

Supreme Court has similarly cautioned against entertaining out-of-market benefits in cases

brought under Section 1 of the Sherman Act, even though that section does not have text

analogous to “any part” and “any line of commerce.” See United States v. Topco Assocs., Inc.,

405 U.S. 596, 610 (1972).

       A rule against cross-market analysis reserves for Congress “value judgments . . . whether

competition in the collateral market is more important than competition in the defined market,”

In re NCAA Grant-in-Aid Cap Antitrust Litig., 958 F.3d 1239, 1270 (9th Cir. 2020) (Smith, J.,

concurring), and avoids burdening courts with balancing harms and benefits that often are not

comparable, Smith v. Pro Football, Inc., 593 F.2d 1173, 1186 (D.C. Cir. 1978).

       To be sure, the effects that a defendant’s conduct causes outside the relevant market can

be relevant, such as when the conduct harms competition from potential competitors. Microsoft,

253 F.3d at 54 (“Nothing in § 2 of the Sherman Act limits its prohibition to actions taken against

threats that are already well-developed enough to serve as present substitutes.”). But this is

because such conduct can affect in-market competition. Id. at 79 (evaluating the potential for




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Microsoft’s conduct to contribute to its monopoly power in the relevant market). By the same

standard, the effect of a defendant’s conduct outside of the relevant market is relevant only to the

extent the defendant demonstrates that the conduct leads to cognizable in-market effects.

       Google has failed to show that its conduct’s out-of-market effects have generated

procompetitive benefits in the relevant market. PTB § VI; PFOF §§ X.B–C. Accordingly, the

Court should reject all Google’s proffered justifications that focus on out-of-market effects.

               2.      Google’s Justifications Lack Sufficient Evidence

       Google has not satisfied its burden to “show” a sufficient justification for its conduct.

Microsoft, 253 F.3d at 59, 66; see also Viamedia, 951 F.3d at 464 (“This burden-shifting has

evolved based on which party has access to the various categories of evidence and information,

with any evidence of pro-competitive justifications likely to be under the defendant’s control.”);

Dentsply, 399 F.3d at 196–97 (“The Government, having demonstrated harm to competition, the

burden shifts to Dentsply to show that [its exclusionary contractual provision] promotes a

sufficiently procompetitive objective.”); Richard A. Posner, Economic Analysis of Law 845 (9th

ed. 2014) (Judicial efficiency supports having the “burden of persuasion rest[] on plaintiff for the

main claim but the defendant for affirmative defenses, . . . and the burdens of production are

allocated accordingly.”).

       To carry its burden, Google must “specif[y] and substantiate . . . [its] claims.” Microsoft,

253 F.3d at 66. For example, in Microsoft, the court rejected Microsoft’s argument that license

restrictions were necessary to ensure that Windows remained “a stable and consistent platform.”

Id. at 63–64. Because Microsoft cited only one of its own documents as support, the court found

that Microsoft “never substantiate[d] this claim.” Id.; see also Andrew I. Gavil & Steven C.

Salop, Probability, Presumptions and Evidentiary Burdens in Antitrust Analysis, 168 U. Penn. L.

Rev. 2107, 2137 (2020) (“Permitting purely theoretical justifications to satisfy the defendant’s


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burden in a particular case would amount to a sub rosa presumption and would lead to excessive

false negatives.”).

       Google has failed to carry its burden of producing sufficient evidence to demonstrate that

its proffered justifications are cognizable. PTB § VI.B; PFOF § X.

               3.      Google’s Justifications Are Not Procompetitive

       Justifications in antitrust analysis are “confined to a consideration of impact on

competitive conditions.” Nat’l Soc’y of Prof’l Eng’rs v. United States, 435 U.S. 679, 690 (1978).

The Sherman Act “does not support a defense based on the assumption that competition itself is

unreasonable.” Id. at 696; see also FTC v. Superior Ct. Trial Lawyers Ass’n, 493 U.S. 411, 414,

421–24 (1990) (refusing to consider “whether competition is good or bad”); Ind. Fed’n of

Dentists, 476 U.S. at 463 (rejecting the argument that “an unrestrained market . . . will lead

[consumers] to make unwise and even dangerous choices”).

       Google has argued that its payments to distributors benefit users through lower device

prices and better browsers. But benefits arising from sharing monopoly profits are not

“procompetitive” and thus cannot absolve a monopolist of liability. LePage’s, 324 F.3d at 164

(One type of “exclusionary practice” occurs when “a firm . . . trades a part of its monopoly

profits, at least temporarily, for a larger market share, by making it unprofitable for other sellers

to compete with it.”); W. Penn Allegheny Health System, Inc. v. UPMC, 627 F.3d 85, 104–05 (3d

Cir. 2010) (In an action challenging a conspiracy to lower insurance payments to a hospital, the

justification that consumers benefitted via lower insurance premiums “reflect[ed] a basic

misunderstanding of the antitrust law.”); Knevelbaard Dairies v. Kraft Foods, Inc., 232 F.3d 979,

988–89 (9th Cir. 2000) (Cheese makers’ argument that a conspiracy depressing milk prices was

justified by lower cheese prices for consumers was “contrary to long-established antitrust law.”).

Put simply, a monopolist cannot purchase the right to monopolize.


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       Google’s proffered justifications are not procompetitive. PTB § VI.B; PFOF § X.

               4.      Google’s Justifications Are Pretextual

       For its proffered justifications to prevail, Google must show that the justifications are not

“pretextual.” Microsoft, 253 F.3d at 59; see also United States v. Dentsply Int’l, Inc., 277 F.

Supp. 2d 387, 440 (D. Del. 2003) (“Dentsply has failed to meet its burden to show that its

exclusive dealing practices here are justified by a non-pretextual, pro-competitive rationale.”),

rev’d on other grounds, 399 F.3d 181 (3d Cir. 2005). In other words, Google must show that the

“proffered reasons” for its conduct are “genuine.” Image Tech. Serv., Inc. v. Eastman Kodak Co.,

903 F.2d 612, 618, 620 (9th Cir. 1990), aff’d sub nom. Kodak, 504 U.S. at 451; cf. Allen v.

Johnson, 795 F.3d 34, 39 (D.C. Cir. 2015) (The Title VII burden shifting framework includes a

“pretext” step, where the court asks “whether [proffered] reasons are the actual reasons [for the

challenged conduct], or whether they are a mask.”).

       When assessing such claims, courts look to contemporaneous evidence regarding the

defendant’s motivations. For example, McWane found that the defendant’s “internal documents

belie[d] the notion that the [conduct] was designed for any procompetitive benefit.” 783 F.3d

at 841. Contemporaneous statements by company executives focused on the anticompetitive

aspects of the conduct rather than the rationales offered at trial. Id. The court found that these

“damning internal documents seem[ed] to be powerful evidence that its procompetitive

justifications are ‘merely pretextual.’” Id. at 841–42.

       Likewise, in Dentsply, the trial court found that defendant’s “pre-litigation rationale for

[its conduct] was expressly to exclude competitors from dealers and not to focus dealers or

protect Dentsply’s investment in promoting artificial teeth.” 277 F. Supp. 2d at 453. The court

identified a range of evidence that “belie[d] the litigation inspired justification” for the conduct,

including evidence that “exclusive dealing with dealers is not necessary to protect promotion.”


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Id. Consequently, the defendant’s proffered justifications were not cognizable. Id.

       As shown by the direct evidence of Google’s anticompetitive motives and the evidence of

Google’s deleting, shielding, and manipulating documents, Google’s proffered justifications are

pretextual. PTB § VI.B; PFOF § VI–IX (see, e.g., ¶¶ 789–817, 832–862, 1193–1229).

               5.      Any Benefits Arising From Google’s Justifications Are Attainable
                       Through Less-Restrictive Alternatives

       As Google concedes, its proffered justifications are insufficient to excuse its conduct if a

less-restrictive alternative exists. Google Pre-Trial Brief, ECF No. 687, at 12; accord Aspen

Skiing Co. v. Aspen Highlands Skiing Corp., 472 U.S. 585, 605 n.32 (1985) (holding conduct can

be exclusionary if it “either does not further competition on the merits or does so in an

unnecessarily restrictive way”); McWane, 783 F.3d at 841 (rejecting defendant’s justification

based on preventing “cherry pick[ing]” because this concern could be addressed by pricing

changes). Additionally, the existence of less restrictive alternatives is evidence of pretext and

weighs against a finding of procompetitive benefits.

       Because Google’s proffered justifications are attainable through less-restrictive

alternatives, these justifications are both insufficient and pretextual. PTB § VI.B; PFOF § X

(e.g., ¶¶ 974, 1304–1309, 1342–1344).

       B.      The Anticompetitive Harm From Google’s Contracts Outweighs Any
               Cognizable Procompetitive Benefits

       If the defendant carries the burden of showing a sufficient “procompetitive justification,”

the burden shifts to the plaintiff either “to rebut that claim” or “demonstrate that the

anticompetitive harm of the conduct outweighs the procompetitive benefit.” Microsoft, 253 F.3d

at 59. Even if the Court finds that Google’s proffered justifications have produced cognizable, in-

market benefits—and it should not—any such benefits are outweighed by the substantial harms

presented in Plaintiffs’ prima facie case.


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       Given the infirmities of each of Google’s proffered justifications, the Court need not

reach the balancing stage. See New York v. Actavis PLC, 787 F.3d 638, 658 (2d Cir. 2015)

(“Because we have determined that Defendants’ procompetitive justifications are pretextual, we

need not weigh them against the anticompetitive harms.”). Nevertheless, the voluminous record

in this case demonstrates that the anticompetitive effects of Google’s contracts—effects

presumptively intended, given Google’s efforts to hide evidence—outweigh any purported

benefits. PTB § VII; PFOF § X. In short, Google has paid billions of dollars to make itself the

only meaningful general search engine in the market. In that position, it visits harm of staggering

scale and scope on users and advertisers, including collecting massive amounts of user data and

filling search results with overpriced ads. Google’s supposed benefits cannot justify those harms.

VI.    Google’s Systematic Destruction Of Unfavorable Evidence Warrants Sanctions
       Under Rule 37(e)

       Rule 37(e) authorizes sanctions where “electronically stored information that should have

been preserved in the anticipation or conduct of litigation is lost because a party failed to take

reasonable steps to preserve it, and it cannot be restored or replaced through additional

discovery.” Fed. R. Civ. P. 37(e); see also Mem. Supp. Mot. Sanctions, ECF No. 495-1, at 16–

28; Reply Supp. Mot. Sanctions, ECF No. 571, at 10–15.

       A party fails to take reasonable steps to preserve ESI when it (1) adopts a document

destruction system that erases chats from production in litigations and investigations and then

(2) continues to automatically delete the electronic communications of employees involved with

the subject matter of a lawsuit and gives its employees “carte blanche to make his or her own call

about what might be relevant in [a] complex antitrust case and whether a Chat communication

should be preserved.” In re Google Play Store Antitrust Litig., 664 F. Supp. 3d 981, 993 (N.D.

Cal. 2023); see also Mem. Supp. Mot. Sanctions, ECF No. 495-1, at 20–24.



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       The range of curative measures for a Rule 37(e) violation is “quite broad.” Fed. R. Civ.

P. 37(e)(1) advisory committee’s note to 2015 amendment. Indeed, once such a violation is

found, the Court may order any measures sufficient to “cure” the resulting “prejudice.” Fed. R.

Civ. P. 37(e)(1). Such prejudice is plain where “substantive business communications were made

on [chats] that plaintiffs will never see, to the potential detriment of their case.” In re Google

Play Store, 664 F. Supp. 3d at 994.

       If “the party acted with the intent to deprive another party of the information’s use in

litigation,” a finding of prejudice is not required to find a Rule 37 violation. Fed. R. Civ.

P. 37(e)(2) advisory committee’s note to 2015 amendment. And in such a case, Rule 37(e)

authorizes, inter alia, a presumption that “the lost information was unfavorable to the party” or

entry of a default judgment. Fed. R. Civ. P. 37(e)(2). The requisite intent exists where a company

fails to suspend the automatic deletion of electronic communications knowing that its employees

discuss matters relevant to the litigation in those communications. In re Google Play Store, 664

F. Supp. 3d at 993–94.

       Given Google’s actions, PFOF § IX, Plaintiffs’ requested sanctions are warranted, PTB

§ VIII.A.

VII.   The Court Has Jurisdiction, And Venue Is Proper

       This Court has subject matter jurisdiction under Section 4 of the Sherman Act, 15 U.S.C.

§ 4, and 28 U.S.C. §§ 1331, 1337(a), and 1345. The United States has standing under Section 4

of the Sherman Act, 15 U.S.C. § 4, and the States have standing under Section 16 of the Clayton

Act, 15 U.S.C. § 26, as parens patriae on behalf of and to protect their general economies and the

health and welfare of their residents. This Court has personal jurisdiction over Google; venue is

proper in this District under Section 12 of the Clayton Act, 15 U.S.C. § 22, and under 28 U.S.C.

§ 1391, because Google transacts business and is found in this District. See PFOF ¶ 3.


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Dated: February 9, 2024                Respectfully submitted,

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